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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

THE ESTATE OF ROBERT JOHNSON                       *     CIVIL ACTION
                                                   *
VERSUS                                             *     NO. 07-1008
                                                   *     C/W 07-1009
                                                   *
BLANN TRACTOR COMPANY, ET AL                       *     SECTION “B”(4)

                                  ORDER

     Considering the Motion to Dismiss (Rec. Doc. No. 40);

     IT IS ORDERED that the above-entitled and numbered causes be

and the same are hereby DISMISSED, WITH FULL PREJUDICE, all

parties to bear their own costs.


     New Orleans, Louisiana, this 24th day of November, 2008.


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                                               IVAN L.R. LEMELLE
                                          UNITED STATES DISTRICT JUDGE
